                    Case:14-04375-jtg         Doc #:35 Filed: 05/12/15           Page 1 of 1

                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

IN RE:
ANDREA J AVERILL                                                       Case No: G G 14-04375
                                                                       Date Filed: 6/26/14
13396 LIME LAKE DR                                                     Chapter 13
                                                                       Honorable John T. Gregg
SPARTA                   MI 49345-0186

                      Debtor(s) /


  TRUSTEE’S MOTION TO DISMISS THE CHAPTER 13 PROCEEDINGS AND NOTICE OF
                   MOTION PURSUANT TO 11 U.S.C. 1307(c)

The Chapter 13 Trustee, Brett N. Rodgers, hereby moves this Court to dismiss the above captioned
Chapter 13 case for the following reasons pursuant to 11 U.S.C. 1307(c):
(X) 1307(c)(6) Material default by the debtor with respect to a term of a confirmed plan:
   (X) Other: Failure to provide 2014 tax returns and refunds

         Note: As a result of the above Motion being made, your case could be converted to a Chapter 7
case.
                                         NOTICE OF MOTION
      Take notice that if a timely response is filed the within motion will be heard before the Honorable
John T. Gregg on July 28, 2015 at 1:00 P.M. This hearing will be held at the U.S. Bankruptcy Court, One
Division Ave NW, 3rd Floor, Courtroom C, Grand Rapids, MI 49503.
      If you wish to oppose the Motion you must filed a written response with the Bankruptcy Court and
serve a copy upon the Chapter 13 Trustee at 50 Louis St NW, Suite 700, Grand Rapids MI 49503 within
30 days of the date on which the Bankruptcy Noticing Center (BNC) served this Motion to Dismiss. The
response filed must comply with Local Bankruptcy Rule 9013(d) and must state with particularity the
reasons why the Trustee’s Motion should not be granted. If a timely response is not filed, the Chapter 13
Trustee may at any time after the expiration of the 30 day period, file with the Court a certificate stating
that no timely response or request for hearing has been filed together with a proposed Order Dismissing
the case and cancel the scheduled hearing date as moot.

Dated:          5/12/2015                                             /s/ Brett N. Rodgers
                                                                      Brett N. Rodgers, Trustee
                                          PROOF OF SERVICE
   This Motion to Dismiss was served electronically upon the attorney for the debtor(s), if applicable,
and the debtor(s) by the BNC.
ATTORNEY FOR DEBTOR(S):                               CORWIN LAW & CONSULTING PLC
